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     AO 442 (Rev. 11111)Arrest Warrant



                                               UNITED STATES DISTRICT COURT
                                                                               for the

                                                                      District of Columbia

                         United States of America
                                    v.                                          )        Case: 1:21-cr-00246
                              Daniel Rodriguez
                                                                                )        Assigned to: Judge Berman Jackson, fJ
                                                                                )
                                                                                )
                                                                                         Assign Date: 3/24/2021
                                                                                )        Description: INDICTMENT (B)
                                                                                )
                                  Defendant


                                                                 ARREST WARRANT
     To:      Any authorized law enforcement officer


              YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
 (name of person to be arrested)         Daniel Rodriguez
 who is accused of an offense or violation based on the following document filed with the court:

 ~ Indictment                  0 Superseding Indictment               0 Infonnation          0 Superseding Information                 0 Complaint
 LJ Probation Violation Petition                 LJ Supervised Release Violation Petition               a Violation Notice             0   Order of the Court
 This offense is briefly described as follows:
       18 U.S.C.   ISI2(c)(2), 2 Obstruction
       18 U.S.C.   231(a)(3) Civil Disorder
       18 U.S.C.   111(a)(1) and (b) Assaulting, Resisting, or Impeding Certain Officers with a Dangerous Weapon
       18 U.S.c.   64 i Theft ofGovemment Property
       18 U.S.C.   1361 Destruction of Govemment Property
      18 U.S.C. 1752(a)(I) and (b)(I)(A), (a)(2) and (b)(I)(A), (a)(3) and (b)(I)(A) Entering and Remaining / Disorderly Conduct / Impeding Ingress/Egress in
      a Restricted Building or Grounds with a Dangerous Weapon



Date:              03/24/2021
                                                                                    -----
                                                                                            (,r/~                       Digitally
                                                                                                                        Harvey
                                                                                                                                    signed by G. Michael

                                                                                                                        Date: 2021.03.2416:19:47     -04'00'
                                                                                                         Issuing officer's signature

City and state:            Washington,    DC
                                                                                         G. MichaelHarve~ ~nited States Magistrate Judge
                                                                                                          Printed name and title "


                                                                           Return


at
            This warr~was
     (city and state)     yeflfztb
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                                                                               r , and the person was arrested on         (date)    1)]     'l1/c)tJ:2-1
Date:      0I/J I ,aO;z {
